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                 In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                              No. 12-923V
                                          (Not to be published)

*****************************
                                                  *
VIKKIE L. SHIPP,                                  *
                                                  *
                     Petitioner,                  *      Filed: May 29, 2015
                                                  *
              v.                                  *      Decision by Stipulation; Damages;
                                                  *      Influenza (“Flu”) Vaccine;
                                                  *      Guillain-Barré Syndrome (“GBS”)
SECRETARY OF HEALTH AND                           *
HUMAN SERVICES,                                   *
                                                  *
                     Respondent.                  *
                                                  *
*****************************
Isaiah Richard Kalinowski, Maglio Christopher and Toale, PA, Washington, DC, for Petitioner.

Glenn MacLeod, U.S. Dep’t of Justice, Washington, DC, for Respondent

                                  DECISION AWARDING DAMAGES 1

        On December 12, 2012, Petitioner Vikkie L. Shipp filed a petition seeking compensation
under the National Vaccine Injury Compensation Program, (“the Vaccine Program”). 2 Petitioner
alleges that she suffered Guillain-Barré syndrome (“GBS”) and related complications as a result
of receiving an influenza (“flu”) vaccine.



1
  Because this decision contains a reasoned explanation for my action in this case, I will post this decision on the
United States Court of Federal Claims’ website, in accordance with the E-Government Act of 2002, Pub. L. No.
107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by 42
U.S.C. § 300aa-12(d)(4)(B), however, the parties may object to the posted decision’s inclusion of certain kinds of
confidential information. Specifically, under Vaccine Rule 18(b), each party has 14 days within which to request
redaction “of any information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the disclosure of which
would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the whole decision will
be available to the public. (Id.)
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine
Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C.A. ' 300aa-10-' 300aa-34
(West 1991 & Supp. 2002). All citations in this decision to individual sections of the Vaccine Act are to 42 U.S.C.A.
' 300aa.
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        Respondent denies that Petitioner’s GBS and any related medical problems were caused
by the receipt of the flu vaccine. Nonetheless both parties, while maintaining their above-stated
positions, agreed in a stipulation filed May 29, 2015 that the issues before them can be settled
and that a decision should be entered awarding Petitioner compensation.

        I have reviewed the file, and based upon that review, I conclude that the parties’
stipulation is reasonable. I therefore adopt it as my decision in awarding damages on the terms
set forth therein.

        The stipulation awards:

                A lump sum of $200,000.00, in the form of a check payable to petitioner. This
                amount represents compensation for all damages that would be available under 42
                U.S.C. § 300aa-15(a).

Stipulation ¶ 8.

        I approve a Vaccine Program award in the requested amount set forth above to be made
to Petitioner. In the absence of a motion for review filed pursuant to RCFC Appendix B, the
clerk of the court is directed to enter judgment herewith. 3


        IT IS SO ORDERED.

                                                                  /s/ Brian H. Corcoran
                                                                     Brian H. Corcoran
                                                                     Special Master




3
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by jointly filing notice renouncing
their right to seek review.

                                                       2
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